AO 458 (Rev. 06/09) Appearance of Counsel

UNITED STATES DISTRICT COURT

for the
Eastern District of New York [~]

People )
Plaintiff )
Vv. ) Case No. 21-cv-1006
William Alexander )
Defendant )
APPEARANCE OF COUNSEL
To: The clerk of court and all parties of record

I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

William Alexander

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Date: 03/27/2023 _ { A Te Ud
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y's Signature

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